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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


MARK ANTHONY ORTEGA,                             §
INDIVIDUALLY AND ON BEHALF OF                    §
ALL OTHERS SIMILARLY SITUATED;                   §                SA-24-CV-00801-OLG
                                                 §
                   Plaintiff,                    §
                                                 §
vs.                                              §
                                                 §
ENSURETY VENTURES LLC, A                         §
MISSOURI LIMITED LIABILITY                       §
COMPANY;                                         §
                                                 §
                   Defendant.



                 ORDER SETTING INITIAL PRETRIAL CONFERENCE

        Before the Court is the above-styled and numbered cause of action, which was referred to the

undersigned on January 31, 2025, for all pretrial proceedings [#13]. The record reflects that

Defendant filed an Answer on February 27, 2025 [#19]. The Court will therefore set this case for its

standard initial pretrial conference and direct the parties to confer in accordance with Rule 26. At

the conference, the Court will enter a Scheduling Order in this case.

        Prior to the Initial Pretrial Conference, all parties should familiarize themselves with the

Local Rules of this Court (https://www.txwd.uscourts.gov/court-information/lcr-introduction/). In

addition, the specific requirements for each district judge can be found on the Court’s website

(https://www.txwd.uscourts.gov/judges-information/judges-directory-biographies/). Each District

Judge’s Standing Order(s) and/or Court Fact Sheet can be accessed by clicking on their respective

name and then clicking on “Standing Orders.” Failure to comply with the Local Rules and/or the

District Judge’s standing orders or Court Fact Sheet will result in the consequences outlined in the

orders and fact sheets and could result in the imposition of sanctions.

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       In light of the fact that Plaintiff is representing himself pro se in this action, the Court directs

him to the following resources to assist him in prosecuting his case:

           •   The Federal Rules of Civil Procedure, available at: www.uscourts.gov/file/rules-
               civil-procedure

           •   This Court’s Local Rules, available at https://www.txwd.uscourts.gov/court-
               information/lcr-civil-rules/

           •   The “Complete Pro Se Manual” which is available on the Court’s website at:
               https://www.txwd.uscourts.gov/filing-without-an-attorney/pro-se-manual/.

Plaintiff is directed to familiarize himself with these resources. Also, although pro se litigants are

held to a less stringent standard, they are nevertheless required to follow the rules that govern all

litigants in federal court. Grant v. Cuellar, 59 F.3d 524, 524 (5th Cir. 1995). These rules include

but are not limited to the rules and Court orders regarding conference with opposing counsel,

following deadlines imposed by the rules and the Court’s Scheduling Order, observing the response

times for motions as set forth in Local Rule CV-7(e), and keeping the Court updated with a current

address to ensure all filings are received.

       IT IS THEREFORE ORDERED that, pursuant to Rule 16 of the Federal Rules of Civil

Procedure, this case is set for an Initial Pretrial Conference at 2:30 p.m. Central Time on March

26, 2025. Counsel for all parties are required to appear by Zoom for the conference. The

information to join the conference is as follows:

       Join ZoomGov Meeting: https://txwd-uscourts.zoomgov.com/j/16126729723

       Meeting ID: 161 2672 9723

If there are questions regarding the Zoom appearance, the parties should contact Judge Chestney’s

Courtroom Deputy by emailing txwdml_chambers_sa_judgechestney@txwd.uscourts.gov.

       Because earlier hearings in other cases may be in progress at the time attorneys log-in for

their scheduled hearing, attorneys may be required to wait in the Zoom “waiting room” until the

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Courtroom Deputy addresses them. Parties should review the July 15, 2020 Standing Order

Regarding Telephone or Video Teleconference Hearings, which is available upon request from the

Courtroom Deputy and on the Court’s website.

        IT IS FURTHER ORDERED that the parties confer in the manner required by Rule 26 of

the Federal Rules of Civil Procedure; further, pursuant to Local Rule CV-16 the parties should

submit their Joint Discovery/Case Management Plan in a form that substantially conforms with

Appendix N of the Local Rules and that answers the following questions no later than March 19,

2025.

   1. Are there any outstanding jurisdictional issues?
          a. For removed cases based on diversity jurisdiction, do the parties agree that the
              amount in controversy exceeded $75,000 at the time of removal? If not, each
              party should state its position on the amount in controversy.
          b. For cases based on diversity jurisdiction, have all parties filed a disclosure
              statement as required by Rule 7.1(a)(2) naming and identifying the citizenship of
              every individual or entity whose citizenship is attributed to each party? If not,
              disclose that information here. This means LLCs and LPs must disclose the names
              of their members/partners and the citizenship of each member/partner.
   2. Are there any unserved parties? If more than 90 days have passed since the filing of the
      Complaint or petition, should these unserved parties be dismissed?
   3. What are the causes of action, defenses, and counterclaims in this case? What are the
      elements of the cause(s) of action, defenses, and counterclaims pled?
   4. Are there any agreements or stipulations that can be made about any facts in this case or
      any element in the cause(s) of action?
   5. State the parties’ views and proposals on all items identified in Fed. R. Civ. P. 26(f)(3).
   6. What, if any, discovery has been completed? What discovery remains to be done? Have
      the parties considered conducting discovery in phases?
   7. What, if any, discovery disputes exist?
   8. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
      Rule of Evidence 502?
   9. Have the parties discussed mediation?

During their conference, the parties should also address whether a protective order is required, and

whether the protective order in Appendix H-1 (to govern standard cases) or Appendix H-2 (to govern

complex cases) of this Court’s Local Rules is appropriate. The Court will address the substance of

the parties’ joint report and discovery plan at the Initial Pretrial Conference.

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       IT IS FURTHER ORDERED that the parties submit a proposed scheduling order

pursuant to Local Rule CV-16(c), no later than March 19, 2025. The Court will discuss with the

parties any proposed changes to the Court’s standard scheduling order based on the unique

circumstances of this case at the Initial Pretrial Conference.

       The proposed scheduling order shall contain suggestions for the following deadlines:

       1. The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties by _________, and each opposing party shall respond, in writing, by __________.

       2. The parties shall file all motions to amend or supplement pleadings or to join additional

parties by _____________.

       3. All parties asserting claims for relief shall FILE their designation of testifying experts and

SERVE on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) by

_____________. Parties resisting claims for relief shall FILE their designation of testifying experts

and SERVE on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) by

___________. All designations of rebuttal experts shall be FILED, and the materials required by

Fed. R. Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already served, shall be

SERVED, within 14 days of receipt of the report of the opposing expert.

       4. An objection to the reliability of an expert’s proposed testimony under Federal Rule of

Evidence 702 shall be made by motion, specifically stating the basis for the objection and identifying

the objectionable testimony, within (14) days of receipt of the written report of the expert’s proposed

testimony, or within (14) days of the expert’s deposition, if a deposition is taken, whichever is later.

       5. The parties shall complete all discovery on or before __________. Counsel may by

agreement continue discovery beyond the deadline, but there will be no intervention by the Court




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except in extraordinary circumstances, and no trial setting will be vacated because of information

obtained in post-deadline discovery.

         6. All dispositive motions shall be filed no later than __________. The timing and page

limitations for briefing on any motion shall be governed by the relevant provisions in Local Rule

CV-7.

         7. The parties shall mediate this case on or before __________, and file a report in

accordance with Local Rule CV-88 after the mediation is completed.

         8. This case is set for pretrial conference on __________at______. The parties should

consult Local Rule CV-16 regarding matters to be filed in advance of a pretrial conference and/or

trial.

         9. This case is set for jury selection/bench and trial on ________ at 9:30 a.m.

         IT IS SO ORDERED.

         SIGNED this 3rd day of March, 2025.




                                       ELIZABETH S. ("BETSY") CHESTNEY
                                       UNITED STATES MAGISTRATE JUDGE




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